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IN THE UNITED STATES DlSTRlCT COURT
FOR THE SOUTl-IERN DlSTRlCT OF IOWA

 

 

CENTRAL DIVlSlON

CARLENE STEENBLOCK. : Civil Action No.

Plaintiff,

vs.
PORTFOLIO RECOVERY
ASSOCIA'I`ES, LLC,

Def`endant.

COMPLA|NT

Carlene Steenblock, by her attorney Ray Johnson, l`or her claims against the Dci`endant
states:
I. INTRODUCTION

l. This is an action for damages brought by an individual consumer for Def`endant`s violations

of the Fair Debt Colleclion Practices Act, 15 U.S.C. § 1692. et seq. (hereinal`ter "FDCPA"`)

which prohibits debt collectors from engaging in abusive. deceptive, and unfair practices.

II. JURSIDICTION AND VENUE

2. Jurisdiction ofthis Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1337. Venue in this

District is proper in that the Del`endant transacts business here and the conduct complained of

occurred here.

IIl. PARTIES

3. Plaintiff, Carlene Steenblock, is a natural person residing in Des Moines, Iowa.

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4. Defendant. Portfolio Recovery Associates. LLC (hereinaf`ter. "Portt`olio Recovery") does
business in lowa with its principle place ol` business located in Norl`olk, Virginia.
5. Portfolio Recovery is a “debt collector” as defined by the FDCPA, 15 U.S.C. § l692a(6).
IV. FACTUAL ALLEGATIONS
6. Portfolio Recovery sued Steenblock in 2007 for an alleged debt that originated from a
Providian National Bank account.
7. Steenblock settled the alleged debt making all payments accordingly. Portl`olio Recovery
then dismissed its lawsuit against Steenblock.
8. Portfolio Recovery has continued its attempts to collect the alleged debt from Steenblock
even though it was previously settled.
V. FIRST CLAIM FOR RELlEF
9. Defendant violated the FDCPA. Defendant’s violations include. but are not Limited to. the
l`ollowing:
a. Defendant violated 15 U.S.C. § l692f(1) by attempting to collect an amount
including any interest, fee. charge. or expense incidental to the principal obligation:
b. Det`endant violated 15 U.S.C. § l692e by making f`alse, deceptive, or misleading
representations, including but not limited to, the character. amount. or legal status ot`
the debt;
c. Det`endant violated 15 U.S.C. § 1692e(5) by threatening to take an action that cannot
legally be taken; and

10. As a result of the above violations of the FDCPA, the Det`endant is liable to the Plaintiff l`or

actual damages, statutory damages. costs. and attorney’s l`ccs.

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Vl. SECOND CLAll\/l FOR RELIEF

ll. All facts and allegations of this Complaint are incorporated herein by reference.

12. Defendant violated lowa’s Debt Co|lection Practices Act. Defendant`s violations include but

are not limited to:

a.

Defendant violated Iowa Code § 537.7103(4) by using fraudulent, deceptive or
misleading representations or means to collect or attempt to collect a debt or to obtain
information concerning a debtor;

Defendant violated lowa Code § 537.7103(1) (t) by threatening to take an action
prohibited by this chapter or any other law, including violations of Iowa Code §
714.16(2)(a); and

Defendant violated lowa Code § 537.7103(4)(e) by intentionally misrepresenting or
making a representation which tends to create a false impression of the charactcr,

extent or amount of a debt or of its status in a legal proceeding

13. As a result of the above violations of the Iowa Code, the Defendant is liable to the Plaintiff

for statutory damages actual damages. costs and attorney’s fees.

WHEREFORE, Plaintiff respectfully requests thatjudgment be entered against the

Defendant for the following:

A.

B
C.
D

Actua| damages.

. Statutory damages.

Costs and reasonable attorney’s l`ees.

. For such other relief as the Court deems appropriate in the circumstances

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Respcctl`ully submitted

 

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